                                     Case 16-00093-5-SWH                      Doc 146 Filed 07/31/18
                                                                                              FORM 1
                                                                                                     Entered 07/31/18 15:50:15                              Page 1 of 2
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                              Page:       1
                                                                                          ASSET CASES
Case No:             16-00093-5-SWH        Judge: Stephani W. Humrickhouse                                                 Trustee Name:                      Algernon L. Butler, III
Case Name:           FRINK, JOYCE ANN                                                                                      Date Filed (f) or Converted (c):   01/07/16 (f)
                                                                                                                           341(a) Meeting Date:               02/03/16
For Period Ending: 06/30/18
                                                                                                                           Claims Bar Date:                   03/30/17

                                 1                                       2                     3                4           5                         6                            7                       8
                                                                                        Est Net Value
                                                                                                             Property                             Asset Fully
                                                                                      (Value Determined
                                                                    Petition/                                Formally   Sale/Funds            Administered (FA)/
                                                                                       by Trustee, Less
                         Asset Description                         Unscheduled                              Abandoned   Received by        Gross Value of Remaining               Lien                Exempt
                                                                                      Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                Values                                 OA=554(a)    the Estate                 Assets                       Amount               Amount
                                                                                       and Other Costs)
 1. Single Family Residence -178 Grist Rd. Chadbourn                   58,000.00                     0.00                         0.00                 FA                           37,000.00              21,000.00
     Single Family Residence - 178 Grist Road, Chadbourn,
     NC
     2,077 Square Foot Home, 3 BR
 2. GMC Envoy 2004                                                           300.00                  0.00                         0.00                 FA                               5,544.00                   0.00
     Mileage: 230,000
 3. Kitchenware Items                                                         50.00                  0.00                         0.00                 FA                                   0.00                50.00
     Location: 178 Grist Road, Chadbourn NC 28431
 4. Appliances - Fridge, Stove                                               325.00                  0.00                         0.00                 FA                                   0.00               325.00
     Location: 178 Grist Road, Chadbourn NC 28431
 5. Furniture - 2 beds, small dining room set                                580.00                  0.00                         0.00                 FA                                   0.00               580.00
     Location: 178 Grist Road, Chadbourn NC 28431
 6. Electronics - Computer                                                   610.00                  0.00                         0.00                 FA                                   0.00               610.00
     Location: 178 Grist Road, Chadbourn NC 28431
 7. Computer                                                                 600.00                  0.00                         0.00                 FA                                639.00                    0.00
 8. Clothing                                                                 250.00                  0.00                         0.00                 FA                                   0.00               250.00
     Clothing - Womens
     Location: 178 Grist Road, Chadbourn NC 28431
 9. Jewelry - two necklaces                                                  200.00                  0.00                         0.00                 FA                                   0.00               200.00
     Jewelry - two necklaces
     Location: 178 Grist Road, Chadbourn NC 28431
 10. Cash on Hand                                                             65.00                  0.00                         0.00                 FA                                   0.00                65.00
 11. FINANCIAL ACCOUNTS                                                       75.00                  0.00                         0.00                 FA                                   0.00                75.00
     Checking Account - State Employees Credit Union
 12. Turnover of Gross Proceeds from Settlement (u)                            0.00             30,000.00                         0.00                        30,000.00                     0.00                   0.00
     Turnover of Gross Proceeds from Settlement of Civil
     Action per Turnover Order of 01.18.17, DE 29.
     Approval of Compromise allowed per Order of 02/14/18,




LFORM1EX                                                                                                                                                                                                   Ver: 20.00j
                                      Case 16-00093-5-SWH                         Doc 146 Filed 07/31/18
                                                                                                  FORM 1
                                                                                                         Entered 07/31/18 15:50:15                                           Page 2 of 2
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                          Page:       2
                                                                                              ASSET CASES
Case No:             16-00093-5-SWH          Judge: Stephani W. Humrickhouse                                                                  Trustee Name:                      Algernon L. Butler, III
Case Name:           FRINK, JOYCE ANN                                                                                                         Date Filed (f) or Converted (c):   01/07/16 (f)
                                                                                                                                              341(a) Meeting Date:               02/03/16
                                                                                                                                              Claims Bar Date:                   03/30/17

                                 1                                            2                     3                      4                   5                         6                            7                    8
                                                                                             Est Net Value
                                                                                                                      Property                                        Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds             Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by         Gross Value of Remaining              Lien             Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                  Assets                      Amount            Amount
                                                                                            and Other Costs)
     DE 141. Estate's share of settlement $30,000 plus 5% of
     amount in excess of $256,245.79.

                                                                                                                                                            Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                         $61,055.00                $30,000.00                                     $0.00                      $30,000.00             $43,183.00           $23,155.00
                                                                                                                                                         (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  06/30/2018: The Trustee is awaiting the estate's share of the Debtor's settlement proceeds. Estimated closing date is
  June 30, 2019.


  Initial Projected Date of Final Report (TFR): 12/31/17           Current Projected Date of Final Report (TFR): 06/30/19


           /s/     Algernon L. Butler, III
  __________________________________________ Date: 07/31/18
           ALGERNON L. BUTLER, III




LFORM1EX                                                                                                                                                                                                                   Ver: 20.00j
